 

Case 2:18-Cv-02110-I\/||\/|D-CWH Document 27 Filed 12/17/1-8" Page 1 of 2

 

 

 

 

 

 

 

 

 

 

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counsel/manes or keenan
DEC l 7 2018
[N THE UNITED STATES DISTRICT C URT
FOR THE DISTRICT OF NEVAD ctrth us nrsrmcr couRr
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rnCK LovELreN, er al., =~_~_~_~_._--_ DEPUTY
Plaintiffst
‘v`.
Civil Action No. 2:18-0\)-21 10
THE UN[TED STATES OF
AMERICA, et al.,
Det`endants

 

 

MOTION TO STAY FlLING OF PRO HAC VICE PETITION
-__---___.__._______________

PlaintiH`s Rick Lovelien and Steven Stewart (“Plaintiffs") hereby move this honorable
Court for a stay in part court’s order of Novernber 2, 2018 with regard to filing non resident
counsel Verified Petition, Motion to Practice in This Case Only, ECF No. 15

Plaintiffs are currently deciding whether to continue with this action and may file an
amended complaint before the U.S. District Court for the District of Columbia` which is where
jurisdiction and venue should lie. Plaintif`f`s are currently of the view that continuing with this
action before this Court would be futile, given their past experience Plaintit”fs respecdully ask
for 30 days to decide whether to continue with this case, as they currently have no counsel and
this Court is unlikely, given past rulings‘ to grant any pro hac vice application
Dated: December 17, 2018 Respectfully submitted

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',Rick Loveiien

4104l West 91m Street South
Mannt`ord, OK 74044

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Steven Stewart

P.O. Box 5794
Hailey, ID 83333

Plaintrffs Pro Se

CERTIFICATE OF SERV'ICE

 

I, Ricl< Lovelien and Steven Stewart, Plaintif’f`s in this matter hereby certify that on this

day, December 17\ 2018, a copyr of the foregoing was filed via hand delivery and served upon all

counsel of record via U.S mail.

    

' c ovelien

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Steven Stewart

